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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

RQYCE cORLEY,

Plai“tiff» 15 civ. 9621
va ` (Féilla, J.)
HON. BONNIE G. WITTNER, et al.,
MEMORANDUM
Defendants.

 

MEMORANDUM OF LAW OPPOSING DEFENDANTS' MOTIONS
TO DISMISS, SUPPORTING PLAINTIFF'S CROSS-MOTIONS
FOR DEFAUET, PARTIAL JUDGMENT ON THE PLEADINGS,
LEAVE TO TAKE DISCOVERY AND AMEND THE COMPLAINT

 

 

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Royce Corley, pro Se

Reg, No. 68011-054

Federal Correctional Institution - low
P.O. BOX 1000

Petersburg, VA 23804-1000
68011054@1mail.k101k.e0m

 

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MEMORANDUM 0F LAW

Plaintiff ROYCE CORLEY, acting pro se, files this Memorandum of Law:
(1) opposing Defendants' motions to dismiss pursuant to Fed. R. Civ. P. 12(b);
and in support of Plaintiff's cross-motions to (2) enter the default of
Defendants HONORABLE BONNIE G. WI'ITNER, J.S.C.., MICHAEL J. BARRY, PORTS & FILES,
lNC. and the CITY OF NEW YORK pursuant to Fed. R. Civg P. 55(a); (3) seek
Partial Judgment on the Pleadings pursuant to Fed. R. Civ. P. 12(c); (4) allow
time to take discovery pursuant to Fed. R. Civ. P. 56(d); and (5) leave to amend
the complaint pursuant to Fed. R. Civ. P. 15(a), or such further relief as
deemed just and proper under the circumstances.

PRELIMINARY STATEMENT

 

Defendants make a plethora of assorted (and sometimes conflicting)
arguments to base their motions to dismiss the Complaint pursuant to Fed. R.
Civ. P. 12(b)(1) and lZ(b)(6). However, none of the arguments made are
sufficient to warrant dismissal. ln fact, a rnajority' of the arguments lack
factual support, are deliberate misinterpretations of the law, or outright
frivolous, for example:

(l) Defendant Judge Wittner argues that: (A) she is shielded by sovereign
immunity "fronl money damages" in 'her official. capacity as a New York State
Judge-~however she is only sued in her individual capacity; (B) she has
"absolute judicial immunity"--however she is only charged for acts done in the
'blear absence of all jurisdiction;" and (C) "Corley's § 1983 claims are barred
under Heck"--however this arguments disregards that Corley was never convicted
of state charges for which the complaint is based, and the allegations if proven
true would not necessarily render his federal conviction invalid (Wittner Mot.
at 6~10);

(ll) Defendants Michael J. Barry, Ports & Files, lnc., Glenn F. Hardy, Esq.

and Glenn F. Hardy, P.C., argue identically that: (D) they aren't "state actors"
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-~however this disregards that they aided and conspired with State actors and
the § 1985 claims do not require state actors (Barry Mot. at 13-15, Hardy Mot.
at 7-9); (E) Plaintiff only pleads "conclusory" allegations of a conspiracy--but
this disregards the specific personal acts each defendant committed (Barry Mot.
at 15~16, Hardy Mot. at 9-11); (F) Plaintiff's legal malpractice claim does not
plead a "colorable claim of innocence"--despite the fact Corley remains innocent
of all state ges for which the Complaint is limited to (Barry Mot. at 17-18,
Hardy Mot. at 11-13); (G) Plaintiff does not allege "Defendants' conduct
unreasonably threatened Plaintiff's physical safety in some way" and the
Negligent lnfliction of Emotional Distress ("NIED") claim is time-barred under a
one (1) year statute of limitation--however this ignores that Defendants'
actions unduly extended Plaintiff's imprisonment and threatened his safety in
prison. Furthermore, the NIED claim falls under a three (3) year statute of
limitation (Barry Mot. at 18-19, Hardy Mot. at 13-14); (H) "Unjust Enrichment,"
(l) "Fraud," and (J) "Unfair Business Practice" claims are deficiently pleaded
or duplicative of the legal malpractice claim--however Defendants' arguments are
non-sequitor, ignore facts pleaded, and each claim is distinguished from the
legal malpractice claim. Furthermore, contrary and alternative claims for relief
are permitted by Fed. R. Civ. P. S(d)(Barry Mot. at 19-21, Hardy Mot. at 14-17);

(lll) Defendants Cyrus R. Vance, Jr., John Temple, David Stuart, Gregory
Weiss and John Doe (hereinafter "DANY") argue: (K) vaguely that "the Complaint
fails to allege a viable claim for which relief can be granted" in a long
diatribe challenging the truthfulness of the allegations without any legal
support--which disregards the pleading requirements of Fed» R, Civ. P. 8(a)(2)
(Plaintiff need only plead "a short and plain statement of the claim showing
that the pleader is entitled. to relief")(DANY' Mot. at 8-11); (l) 0fficial-
Capacity claims against DANY "are barred by the Eleventh Amendment"--disregards

that they are not being charged with acts done in a "quasi-judicial" capacity,

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but as 'anestigators" acting for the City of New York (DANY Mot. at 11);
(M) lndividual-capacity claims "are barred by absolute prosecutorial immunity"--
disregards that they are not immune for acts done as "investigators" and they
are estopped from asserting this defense (DANY Mot. at 12-14); (N) the Complaint
fails to "allege personal involvement of DANY"--ignores that specific acts are
pleaded which are personally attributed to each defendant (DANY Mot. at 14-16);
(0) "Plaintiff's conviction bars most of his claims"--disregards that Plaintiff
was never convicted on state charges and his federal conviction has no relevance
to a "Heck" defense (DANY Mot. at 16-20); (P) "Substantive due process claims
must be dismissed"--is a frivolous argument as each claim for substantive due
process is distinct from the other constitutional violations alleged (DANY Mot.
at 21); (Q) "Plaintiff fails to allege outrageous government conduct"--
convolutes the facts plead, and seems to confirm the allegations (DANY Mot. at
22-23); (R) "Pre-trial publicity" argument is without merit because a 'Tair
trial" is not an element of the 0bstruction of Justice (DANY Mot. at 23-24);
<S) "Equal protection" and (T) "No actionable negligence" arguments are further
convoluted arguments that lack merit (DANY Mot. at 24-27); and (U) "Several
claims are time-barred" argument is patently frivolous because none of the
claims accrued until the prosecution terminated in Plaintiff's favor in February
2013, for which all of the claims are under a three (3) year statute of
limitations period or greater (DANY Mot. at 27-28);

(lV) Defendant City of New York argues that: (V) "Plaintiff's federal
conviction bars many of his claims"--disregards that no state conviction exists;
(W) "Qualified immunity" defense is inapplicable because clearly established
Statutory and constitutional rights of Plaintiff were violated; and (X) vague
"lack of Monell liability" defense disregards alleged facts about
unconstitutional policies and customs the City adopted and condoned; (Y) "Notice

of claim" is frivolous since no state claims against City (NYC Mot 6-11, 15-22);

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CROSS-MOTIONS

(V) Default is vmrranted against Defendants Honorable Bonnie G. Wittner,
J.S.C., Michael J. Barry; Ports & Files, lnc., and the City of New York, because
these defendants failed to plead or otherwise defend in a timely manner pursuant
to Fed. R» Civ - P. 55(a§» Furthermore, these defendants are barred from
Challenging their liability, because their default constitutes an admission to
all well-pleaded factual allegations.

(Vl) Partial dudgment on the P]eadings is warranted widi respect to the
Plaintiff's "favorable termination of the prosecution" since all of the state
charges were dismissed; and Plaintiff's federal conviction is irrelevant to this
case and could eventually be overturned upon pending motions with trial court.

(Vll) lhis Court should not construe any nmtion to dismiss as one for
summary judgnent (since extraneous materials were filed in support of the
motions), because time should. be permitted to take discovery and further
testimony pursuant to Fed. Rs Civ. P. 56(d)»

<VITT) Finally, leave to amend the Comp]aint should be granted (if
necessary) to identify Defendant JOHN DOEz and to correct any claims deemed
insufficiently pleaded, or such further relief deemed just and proper.

STANDARD OF REVIEW
Rule 12(b):

"ln ruling on a moti<ml to dismiss5 the court must accept the factual
allegations in the complaint as true and draw all reasonable inferences in the
favor of the nonmoving party." Koegel v. PH Media (USA), lnc., 2018 U.S. Dist.
LEXlS 56110 (S.D.N.Y., Mar. 30, 2018)(internal citation and quotations omitted)c
"ln order to survive a motion to dismiss, a complaint must contain sufficient
factual matter, accepted as true, to state a claim to relief that is plausible
on its face. A claim has facial plausibility when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the

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defendant is liable for the misconduct alleged." ld.
Rule 55(a):
"When a party against whom a judgment for affirmative relief is sought has
failed to plead or otherwise defend ..., the clerk must enter the party's
default." Fed. R. Civ. P. 55(a). "The entry of default is therefore not

discretionary." Bricklayers & Allied Craftworkers Local 2 v. Moulton Masonry &

 

constr.! LLC., 779 rad 182, 186 <2<3. cir. 2015>.

Rule 12(c):
"After the pleadings are closed--but early enough not to delay trial--a

party may move for judgment on the pleadings." Fed. R. Civ. P. 12(c). The court

applies the same standard of review to a Rule 12(c) motion as it does to a

motion to dismiss under Rule 12(b)(6). See Cleveland v. Caplan Enters., 448 F.3d

 

518, 521 (2d. Cir. 2006). A lnotion for judgment on the 'pleadings should 'be
granted if it is clear from the pleadings that "the moving party is entitled to

judgment as a matter of law," Burns lnt'l Sec. Servs., lnc. v. lnt'l Union, 47

 

F.3d 14, 16 (2d Cir. 1995).
Rule 56(d):

"A party resisting summary judgment on the ground that it needs additional
discovery in order to defeat the motion must submit an affidavit .,. showing:
(1) what facts are sought and how they are to be obtained, (2) how those facts
are reasonably expected to create a genuine issue of material fact, (3) what
effort affiant has made to obtain them, and (4) why the affiant was unsucessful

in those efforts." Lunts v. Rochester City Sch. Dist., 515 Fed. Appx. 11, 13-14

 

(2d Cir, 2013)(internal citations and quotations omitted)g
Rule 15(a):

"The Supreme Court has emphasized that amendment should normally be
permitted, and has stated that refusal to grant leave without justification is

inconsistent with the spirit of the Federal Rules." Rachman Bag Co. v. liberty

 

Mut. lns. Co., 46 F.3d 230, 234 (2d Cir. 1995)(internal quotations omitted).
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DlSCUSSlON
1. Motions to Dismiss:

Defendants Honorable Bonnie G. Wittner, J.S.C., Michael J. Barry, Ports &
Files, lnc., Glenn F. Hardy, Esq., Glenn F. Hardy, P.C., Cyrus R. Vance, Jr.,
John lemple, David Stuart, Gregory Weiss and John Doe nwved to dismiss the
Complaint pursuant to Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil
Procedure. For the following reasons these motions should be denied in their
entirety (the "Heck Defense" arguments raised are addressed in the cross-motion
for Partial Judgment on the Pleadings):

l. Hon. Bonnie G. Wittner, J.S,C.

(A) Sovereign lmmunity (Official Capacity)

Judge Wittner wishes to be shielded from 'bwney damages" in her official
Capacity. However this argument is moot since Plaintiff only alleges claims
against her in her individual capacity (see Comp., UH6, 60-61, 63, 66).

(B) Judicial lmmunity (lndividual Capacity)

Judge Wittner wishes to be immune from suit because all of the acts
"allegedly performed. by Justice Wittner either arose from, or related to,
Corley's criminal prosecution, and were thus plainly judicial in nature." lhis
statement ignores all of the non-judicial acts Judge Wittner is alleged. to
commit in the Complaint, e.g.:

"On or about August 22, 2011 through January 10, 2012, DANY
solicited Judge Wittner to coerce and entice Minna to engage
in prostitution, with the intent to fraudulently obtain
search warrants and manufacture a sting operation against
the Plaintiff" (Comp., H18);

"Judge Wittner induced Minna to engage in prostitution by:
(1) promising her boyfriend Nate a favorable disposition, or
an unfavorable disposition, if she failed to participate;
(2) threatening her with prosecution; or (3) offering
something of value" (ld.);

"Judge Wittner and DANY manufactured. Supreme Court

jurisdiction of the subject-matter by compelling Minna[,] to
participate in the January 12th sting" (Comp., H24);

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These alleged acts if proven true would constitute a violation of N.Y.
Penal law §§ 230.25(2)("Advances ... prostitution of a person less than nineteen
years old")(circa 2012); 230.30(1)("Advances prostitution by compelling a person
by force or intimidation to engage in prostitution")(circa 2012); and
230,34(5)(g)(circa 2012):

"using force or engaging in any scheme, plan or pattern to
compel or induce the person being patronized to engage in or
continue to engage in prostitution activity by means of
instilling fear in the person being patronized that, if the
demand is not complied with, the actor or another will do
one or more of the following: use or abuse 'his or her
position as a public servant by performing some act within
or related to his or her official duties, or by failing or
refusing to perform an official duty, in such manner as to
affect some person adversely"

l could not find any New York State laws that give Judges jurisdiction or
authority to compel prostituion or to recruit and cultivate informants for an
investigation. All of these acts are not judicial in nature and could not be
construed. as such. lmmunities are grounded in "the nature of the function
pertormed, not the identity of the actor who performed it." Forrester v. White,
484 U.S. 219, 229-230 (1988).

Th€ SuDr€me Court "never suggested that the President, or
any other official, has an immunity that extends beyond the
scope of any action taken in an official capacity

judges, prosecutors, or congressional aides--all having

absolute immunity--are not immune for acts outside official
duties." Clinton v. Jones, 520 U.S. 681, 694 (1997).

Some of the acts alleged. could. be construed as "judicial" in nature.
However, with respect to these acts, they occurred before Judge Wittner had
jurisdiction over the case, e.g.:

"ln or about August 22, 2011 through February 15, 2012, in
association with the matter of People v. Nathaniel Jackson,

People v. Charles Brito .... Judge Wittner and DANY
unlawfully established a quasi-grand jury to issue
subpoenas, court orders, etc.; with the intent to illegally
obtain access to the Plaintiff's personal electronic commu-
nications, bank records, phone records and conversations"
(Comp., H17). `

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ln layman's terms, l alleged--and can prove--that Judge Wittner misused the
jurisdiction she had in the aforementioned criminal cases to illegally invade
the Plaintiff's privacy. l characterize these acts as establishing a 'huasi-
grand jury" because this form of judicial investigation is restricted to the
province of a duly sworn grand jury. Furthermore,

"Superior courts have preliminary jurisdiction of all
offenses, BUT they exercise such jurisdiction ONLY by reason

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of and through the agency of their GRAND JURIES:TFTN.Y. Crim.
Proc. Law § 10.20(2)(emphasis addedl.

According to the availabhe information, the Plaintiff was not under any
grand jury investigation until after the sting operation on January 12, 2012.
Also. Plaintiff did. not come under Judge Wittner's jurisdiction until his
arraignment on February 15, 2012 (Comp., UU23-28). Giveu these facts, it is
clear that Judge WUttner "acted in the clear absence of all jurisdiction."
lucker v. Outwater, 118 F.3d 930, 933 (2d Cir. 1997).

"A clear absence of jurisdiction has objective and subjec-
tive components, requiring a showing (1) that no reasonable
judge would have thought jurisdiction proper and (2) that
the judge actually knew or must have known of the jurisdic-

tional defect." Gotbetter v. Wendt, 371 Fed. Appx. 165, 166
(Zd Cir. 2010)(citing ld. at 934llinternal quote omitted).

The circumstances alleged in the Complaint meet both criteria because no
reasonable New York Supreme Court Justice would have thought to have
jurisdiction to issue orders to access Plaintiff's records under the
jurisdiction bestowed over a different individual charged with separate crimes.
Furthermore, it is obvious from the circumstances that Judge Wittner knew
Plaintiff was not under her jurisdiction since he was not arraigned or under
grand jury investigation during this time.

0nce Judge Wittner obtained jurisdiction over Plaintiff's case she
committed additional acts for which judicial immunity did not apply because they

were administrative in nature or constituted bribes, e.g.:

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'Uudge Wittner and DANY engaged in fraud or other acts to
circumvent established procedures, to have Plaintiff's case
assigned to Judge Wittner, with the intent to hide unlawful
acts committed by the defendants" (Comp., H27);

"ln exchange for Mr. Hardy's assistance in tolling speedy-
trial time, DANY and Judge Wittner provided him with

favorable dispositions on his other cases, or something else
of value" (Comp., H34);

'\ Judge Wittner pressured DANY to resolve the case

without a trial, to prevent disclosure of unlawful acts
committed by the defendants" (Comp., U38);
"... motivated by DANY and Judge Wittner, Mr. Hardy hired
private investigator Michael .J0 Barry ..» to publicize
Plaintiff's case, with. the intent of enticing the U.S.
Attorney to take the case" (Comp., U41);
lhe acts of case assignment and hiring experts were "administrative
decisions, even though they may be essential to the very functioning of the
courts, have not similarly been regarded as judicial acts." Forrester, 484 U.S.
at 228; "a judge's absolute immunity does not extend to actions performed in a
purely administrative capacity." Clinton, 520 U,S. at 694.
Offering bribes or sexual favors (in this case inducing prostitution of a
minor) forfeits the application of absolute immunityo See Schloss v, Bouse, 876
F.Zd 287, 291 (Zd Cir. 1989). Additionally, these clearly illegal acts and other

acts of fraud should estop her from asserting an absolute immunity defense. See

e.g., Republic of Ehuador v. Chevron Corp., 638 F.3d 384, 400 (Zd Cir. 2010)

 

<"Equitable estoppel is properly invoked where the enforcement of the rights of
one party would work an injustice upon the other party due to ... the former's
words or conduct"). In a nutshell, Judge Wittner should not be awarded with
immunity where she engaged in the very illegal acts that manufactured. the
charges that eventually entered her jurisdictiou. Finally, Judge Wittner has not
meet her burden of establishing that her acts qualify for absolute immunity. See

Be]'_‘r]a];‘d v, C()Lmty Of Suffo]_k, 356 F.3Cl 495, 503 (2(1 C`ll`. 2004)("111 lS the party

 

claiming absolute immunity who bears the burden of establishing its

applicability").

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(C) Heck Defense
This matter is addressed below in Plaintiff's cross~motion for Partial
Judgment on the Pleadings.
ll. Michael J, Barry, Ports & Files, lnc,,
Glenn F. Hardy, Esq. and Glenn F. Hardy, P.C.
(hereinafter "Private-Defendants">
(D) State Actors
The Private-Defendants raise identical arguments in their motions to

' and therefore

dismiss¢ ln the first, they argue that they are not "state actors'
all of the federal constitutional claims should be dismissed. But this ignores
the fact that they are liable because they aided, abetted and conspired with
state actors, e.g.: (1) Hardy took bribes to toll speedy-trial time against the
interests of his client; and (2 Hardy and Barry reported Plaintiff's case to
the media at the direction of DANY and Judge Wittner (Comp., HH34, 41)N The
actions of a nominally private person are attributed to the state when, as
relevant here,

"the private party acted in concert with the state actor to

commit an unconstitutional act, i.e., the private defendant

was a willful participant in joint activity with the state
or its agents." Missere v. Gross, 826 F. Supp. 2d 542, 566-

67 (S.D.N.Y. 20115{internal quotations omitted).

Furthermore, there exists no "state actor" requirement for violations of 42

U.S.C. §§ 1985(2) and 1985(3). See Mullarkey v. Berglum, 323 F. Supp. 1218, 1228

 

(S.D.N.Y. 1970)("it is ..} unnecessary to the maintenance of an action under §
1985(2) to allege or show any state action or involvement by any state

official">; and criffin v. Br@¢kenridge, 403 U.s. 88, 101-102 (1971)("1@,<;13-

 

lative history point unwaveringly to 1985(3)'3 coverage of private conspiracy").
(E) Conspiracy

Private~Defendants argue vaguely that the conspiracy claims against them

are "conclusory." But this ignores specific allegations in the Complaint that

they knowingly violated and conspired to violate the Plaintiff's constitutional

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rights, e.g.: (1) Hardy knowingly agreed with. DANY to violate Plaintiff's
speedy-trial. rights under the sixth_ amendment, in exchange "DANY` and Judge
Wittner provided him with favorable dispositions on his other cases, or
something else of value; and (2) Hardy and Barry knowingly agreed with DANY and
Judge Wittner to publicize Plaintiffls case in the media (as they have done to
other clients) with the intent of compelling Plaintiff to plead guilty (which
would have completely forfeited his federal rights to bring this suit under the
"Heck" doctrine), and convincing the U.S. Attorney to take jurisdiction (which
eventually occurred)(Comp., HH29-49, 62-63). These allegations satisfy the
requirements of a § 1983 conspiracy claim as follows:

'le] state a § 1983 conspiracy claim, [a] plaintiff must

allege: (1) an agreement between ... a state actor and a

private entity; (2) to act in concert to inflict an uncon-

stitutional injury, and (3) an overt act done in furtherance

of that goal causing damanges." Biswas v. City of New York,
973 F. Supp. 2d 504, 533 (S.D.N.Y. 2013).

DANV and Judge Wittner could not have achieved their gaols without the
assistance of Hardy and Barry. Furthermore, should a conspiracy not be
established, the Complaint also 'pleads that the Private-Defendants directly
violated Plaintiff's constitutional rights under a aiding and abetting theory.
See e.g., Dickinson v. lgoni, 76 A.D.3d 943, 945, 908 N.Y.S.2d 95 (2d Dep't
2010)(New York law recognizes a claim for aiding and abetting a tort).

(F) Heck Defense

This matter is addressed. below in Plaintiff's cross-motion for Partial
Judgment on the Pleadings.

(G) NIED and Statute of Limitations

Private-Defendants argue that the NIED claim must fail because Plaintiff
does not 'allege that defendants conduct unreasonably threatened plaintiff's

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physical safety in some way,' and the NlED claim is governed by "a one (1) year

statute of limitations."

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First, this argument ignores that: (1) Hardy's actions caused plaintiff to
suffer over 215 days of unlawful incarceration; and (2) both Hardy and Barry's
actions caused Plaintiff's crimes of promoting prostitution of ndnors to be
publicized on live-TV and newspapers (which could have caused Plaintiff to be
attacked in prison for sexual offenses; and threatened him with a potential life
sentence in federal prison)(Comp., HU35-49, 53, 66). A plaintiff may recover for
NIED by showing "a breach of a duty of care resulting directly in emotional harm

. even though NO PHYSICAL INJURY occurred." faggart v. Costabile, 131 A.D.3d
243, 14 N Y.S 3d 388, 397 (2d Dep't 2015}(emphasis added).

Second, "a claim for negligent infliction of emotional distress is subject
to a three-year statute of limitations." AB v. Rhinebeck Cent. Sch. Dist., 361
F. Supp. 2d 312, 317 (S.D.N.Y. 2005)(citing N.Y. Civ. Proc Laws & Rules § 214).
Therefore this cliam is timely.

(H) Unjust Enrichment'

Private-Defendants argue that the unjust enrichment clainl is deficient
because no "performance was rendered for the defendant." This argument is
muddled because it misconstrues the legal concept of "performance." Performance
basically means "the act of doing something" (The law Dictionary (c) 2002 by
Anderson Publishing Co.). lhe performance rendered for Mr. Hardy and Mr. Barry
was simply hiring them. The performance requirement exists to ensure a nexus
between a plaintiff and a defendant's actions. However, courts have long been
divided over "whether New York law imposes a nexus requirement to state a claim

for unjust enrichment." Bildstein v. Mastercard lntl., lnc., 2005 U.S. Dist.

 

lEXlS 10763, 2005 WL 1324972, *5 (S.D.N.Y. 2005). See also, Aetna Cas. & Sur.

Go. v. LFO Constr. Corp., 207 A.D.Zd. 274, 615 N.Y.S.Zd 389, 389 (1st Dep't

 

1994)("the unjust enrichment claim does not require that the party enriched take

an active role in obtaining the benefit").

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Within full context, Plaintiff states a claim for unjust enrichment because
Private-Defendants were enriched by selling Plaintiff's case to the media for
the purpose of financial gain (and did gain therefrom), at Plaintiff's expense
(funds allocated. for legal services misappropriated. for ‘personal. gain), and
"equity and good conscience militate against permitting defendant[s] to retain
what plaintiff is seeking to recover [(illicit gains)]." Briarpatch. Ltd. v.

Phoenix Pictures, lnc., 373 F.3d 296, 306 (2d Cir. 2004).

 

(l) Fraud

Private-Defendants argue vaguely that "Corley fails to 'plead lzis fraud
claim with any specificity whatsoever." This agrument convolutes the
requirements of Fed. R. Civ. P. 9(b):

"ln alleging fraud. or mistake, a party must state with
particularity the circumstances constituting fraud or
mistake. Malice, intent, knowledge, and other conditions of
a person's mind may be alleged generally."

Plaintiff argues with accuracy that: Hardy and Barry knowingly publicized
confidential facts about Plaintiff's case to the media, despite the 'bath of
confidentiality" they made to him (Comp., UH41-52, 69). Furthermore, fraud is
implicitly obvious from the circumstances: Plaintiff hired these Defendants to
act as a lawyer and private investigator not as publicists!

(J) Unfair Business Practices

Private-Defendants argue "Plaintiff does not allege that the challenged act

was consumer oriented" nor that "the alleged deceptive practices impacted anyone

other than the plaintiff himself." This argument belies the record, because it

is specifically plead that other consumers Of the Defendants' services were

equally affected (Comp., UU42, 52, 56). "The 'consumer-oriented' requirement
may be satisfied. by showing that the conduct at issue 'potentially affects
similarly situated consumers." Wilson v. Northwestern tmtual lns. Co., 625 F.3d

54, 64 ('26 cir. 2010).

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Finally, the Unjust Ehrichment. Fraud and Unfair Business Practice claims
are clearly distinguished. from the Legal Malpractice claim by the conduct
alleged and damages sought, e.g.: (1) malpractice alleges "speedv trial"
violations independent of the other claims; (2) unjust enrichment seeks to
recover Defendants' illicit gains; (3) fraud is limited. to their breach. of
confidentiality; and (4) unfair business practices entitles the Plaintiff to
both statutory and treble damages (which the other claims do not guarantee)
(Comp., HH67-70). See N.Y¢ Gen. Bus. law § 349(h). Moreover, a plaintiff is
permitted to "set out two or more statements of a claim or defense alternatively
Or hypothetically" and "may state as many separate claims or defenses as it has.
regardless of consistency." Fed. R. Civ. P. 8(d)(2~3); see also, §£idgewav Corp.
vu Citibank, N.A.l 132 F. Supp. 2d 297, 305 (S.D.N.Y} 2001)("dismissal of
plaintiff's alternative theories at this state would violate the liberal policy
of [Rule 8(d)(2)] which allows plaintiffs wide latitude in framing their right
to recover")(internal quotations and citations omitted).

III. Cyrus R. Vance Jr., John Temple, David Stuart,

Gregory Weiss and John Doe
(hereinafter "DANY")
(K) viable claims for Reiief

ln a completely vague and long diatribe DANY seeks to challenge the factual
plausibility and truthfulness of the Complaint, but ignores that at the pleading
stage, Plaintiff is only required to state "a short and plain statement of the
claim showing that the pleader is entitled to relief." Fed. R. Civ, P, 8(a)(2);
which must be accepted. as true and. "construed in favor of the 'plaintiff."
Sanderson v. Horse Cave Theatre 76, 881 F. Supp. 2d 493, 502 (S.D¢N.Y. 2012).

Count l (Privacy) and Count Ill (Speedy Trial) are briefly addressed here,
while Count ll (Outrageous Government Conduct), Count lV` (Obstruction of
dustice), Count V` (Equal Protection) and. Count Vl (Negligent lnfliction of

Emotional Distress) are discussed further on below:

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i. Privacy (Count l)

"To establi§n a violation of the constitutional right to
privacy, plaintiff must festablish that hej had a privacy
interest-~that is, a reasonable expectation of privacy-~in
the information that was disclosed." Rutherford v. Katonah~
lewisboro Sch. Dist., 670 F. Supp. 2d 230, 239 (SDNY. 2009).

 

Plaintiff clearly established that his right to privacy under the first and
fourth amendment was violated by Judge Wittner and DANY when they abused their
authority to issue court orders associated with the matter of People v.
Nathaniel Jackson, lnd. #4157/2011 & 34/2012 (N.Y} Sup. Ct.) and People v.

Charles Brito, et al,, lnd. #3013/2011 (N.Y. Sup. Ct.), to obtain Plaintiff's

 

"personal electronic communications, bank records, phone records and

' (Comp., UU17, 60). This information was learned from

conversations, etc.'
subpoenas issued by ADA David Stuart to lime Warner Cable, Sprint, Municipal
Credit Union and others, to obtain Plaintiff's internet history? text messages,
bank records, etc. (circa September 2011). However these subpoenas were issued
under the Jackson, Brito, et al. cases, and not a case associated with Plaintiff
and certainly not via any grand. jury. The Supreme Court has recognized a
constitutional privacy right under the fourteenth_ amendment 'protecting "the
individual interest in avoiding disclosure of personal matters." Whalen v. Roe,
429 U.Sg 589, 599 (1977), The Second Circuit has also recognized a constitu-
tional right to privacy with respect to certain financial information. See
Eisenbod v. Suffolk County, 841 F.2d 42, 45 (Zd Cir. 1988).
ii. Speedy Trial (Count lll)
With respect to the 'speedy trial" claim, DANY accuses the Plaintiff of

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making "wild blanket accusations.' This characterization is patently false
because there exists factual support for the Plaintiff's allegations. One
question to ask Mr. Hardy is why did he agree to toll speedy-trial time against

his client's own liberty interests? What was motivating him to do this, besides

some personal benefit?

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While Plaintiff does not know the exact condition of Mr. Hardy's mind, it
is believed that the reason was bribery from DANY in the form of "favorable dis-
positions on his other cases, or something else of value" (Comp., UU29-35, 62).
At the pleading stage 'Tm]alice, intent, knowledge, and other conditions of a
person's mind may be alleged generally.y Fed. R. Civ. P. 9(b)(emphasis added).
Moreover, other clients of Mr. Hardy have lodged similar allegations. See e.g.,

Murdocl< v, legal Aid soc‘v, 2015 U.s. Dist. LEXIS 1487 (E.D.N.Y., .Jan. 6. 2015)

 

("Plaintiff contends that his court-appointed criminal defense attorneys
violated his rights to due process and a speedy trial by consenting, without his
knowledge and/or consent, to adjournments requested by District Attorney Rice");

Watkins v. Matarazzo, 2015 U.S. Dist. LEXIS 178636 (S.D.N.Y., Sep. 223 2015)

 

("Watkins sued ... Glenn Hardy for conspiracy to deny him due process during his
criminal proceedings"); and Akassy v. Hardy, 887 F.3d 91 (2d Cir. 2018)(same).
(L) Eleventh Amendment (Official Capacity)

As an initial matter, the State of New York waived sovereign immunity with
respect to any constitutional claims against DANY in their official capacity.
lhe Attorney General explicitly refused to represent DANY` when they only
appeared on behalf of Judge Wittner (Dkt. #53, "Notice of Appearance"). "A state
may waive its immunity and agree to be sued in federal court." Richardson v.

N.Y.S. Dep't of Corr. Serv.. 180 F.3d 426, 448 (2d Cir. 1999). Moreover, the

 

privilege of sovereign immunity belongs to the State alone, therefore DANY
"itself is not allowed to assert [it]." Owen v. City of Independence, 445 U.S.
622, 638 (1980).

Regardless, the Eleventh Amendment immunity available to the State is of no
moment because "[ujnder New York law, DAs and ADAs are generally presumed to be
local county officers, not state officers." Myers v. County of Orange, 157 F.3d

66, 76 (2d Cir. 1998), citing N.Y. Pub. Off. law § 2; and N.Y. County L@W § 53-

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"New York courts recognize a narrow exception to this general rule when a
prosecutor makes individual determinations about whether to prosecute violations
of state penal laws." Myers_.,_ supra at 77 (emphasis added). None of the claims
for relief deal with an individual prosecutor's discretion. ln fact, all of the
claims are founded upon "extracurricular activities" outside of their prosecu-
torial duties, i.e., invasion of privacy, compelling prostitution, bribery,
media publicity, racial prejudice, etc.
(M) Prosecutorial lmmunity (lndividual Capacity)

DANY is not entitled to absolute immunity for: (1) preparing perjured or
falsified court orders to invade Plaintiff's privacy, (2) compelling
prostitution to cultivate an informant, (3) bribing defense attorneys, (4)
communicating with the media, and (5) racial prejudice, all while acting in the
capacity of investigators. See Exhibit K-1 ("lnvestigation Bureau Follow-up
Reports" dated from August 2011 to January 2012).

"A prosecutor ' s administrative duties and those
investigatory functions that do not relate to an advocate's
preparation for the initiation of a prosecution or for judi-
cial proceedings are not entitled to absolute immunity.'
Buckley v. Fitzsirmxons, 509 U. S. 259, 273 (1993).

Likewise, "the actions of a prosecutor are not absolutely immune merely
because they are performed by a prosecutor." ld. "Where the prosecutor acts
without clear jurisdiction and without any colorable claim of authority, the
_City of New York_, 193 A.D.Zd 79, 86, 602 N,Y,S.2d 337 (1st Dep't 1993). "A gov-
ernment official does not have absolute immunity for acts that are manifestly or
palpably beyond his authority or performed in the clear absence of all juris-
diction." Doe v. PHillips, 81 F.3d 1204, 1210 (2d Cir. 1996). See also, ",_Fp_[_n_l_<_o___v;
_l§`_e_s__, 416 F. Supp. 1137, 1139 (W.D. Pa., 1976)(immunity "does not extend to
their conduct while engaged in such police activities as recruiting or
cultivating informants"); §alina v. Fletch_e_a_r_, 522 U.S, 118, 130-31 (l997)(no

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immunity for false statements in affidavit supporting arrest warrant); Powers v.
§p§j 728 F.2d 97, 105 (2d Cir. 1984)(no absolute immunity for "systematic leaks
of information to media"); MacRae v. Motto, 543 F. Supp. 1007, 1010 (S.D.N.Y.
1982)(no immunity because "lpjarticipation in an illegal search that violates a
person's fourth amendment rights is independent of the prosecution since the
victim is harmed by the invasion of his zone of privacy, whether or not the evi-
dence unlawfully obtained is introduced at trial"); Schloss v. Bouse, supra (no
immunity for bribes and sexual misconduct); and §arf v. Huntington, 702 F. Supp.
395, 400 (E.D.N.Y. 1988)(no immunity for "selectively enforcing the Huntington
lbwn Code in an effort through racial animus). Finally, just like Judge Wittner,
DANY is estopped from asserting an absolute immunity defense for a prosecution
they manufactured; and have not meet their burden of establishing the defense's
applicability. See Republic of Ebuador, supra; and Bernard, supra, respectively.
(N) Personal lnvolvement

The Complaint clearly accuses Cyrus R. Vance, Jr., John Temple, David
Stuart, Greg[ory] Weiss and John Doe as being personally involved. in the
violation of Plaintiff's constitutional rights (Comp., HH13, 16-25. 34-41, 46-
47, 54, 60-66). What DANY convolutes is Plaintiff's general reference to all of
these defendants as "DANY" (Comp., U9). lhis is done solely for brevity and some
uncertainty as to which prosecutor committed a particular act--but it is known
that Defendants worked collectively. lt is further known that both David Stuart
and Gregory Weiss appeared in court and John lemple as head of the Human lraf-
ficking Unit, assisted. in the investigation. See Exhibit K-Z ("e-Justice NY
Background Search" by John lemple dated Sep. 8, 2011). lt is also known that
Cyrus Vance continued the policy of cultivating prostitute-informants from his
predecessor Robert Morgenthau (Exhibit E, pg. 99, 137); and held a personal
interest in the prosecution of Plaintiff's case. See Exhibit J-l & J-2 (articles
by Vance referencing Plaintiff's case to push for change in New York sex traf-

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ficking laws). lt could also be inferred from the circumstances that Cyrus Vance
at the minimum acquiesced to using an underage prostitute-informant: as no sane
prosecutor would knowingly violate N.Y. Penal law § 230.34(5)(g) without confir-
For each Defendant personal involvement was established since it is alleged they
participated directly, failed to remedy the underlying violations, created
unconstitutional policies and exhibited deliberate indifference to unconstitu-
tional acts being committed. See`§blon v. Coughlin, 58 F.3d 865, 873 (2d Cir.
1995).

(0) Heck Defense

This matter is addressed 4below in `Plaintiff's cross-motion for Partial
Judgment on the Pleadings.

(P) Substantive Due Process

lreatment of Count ll (Outrageous Government Conduct) as a "substantive due
process" claim is most appropriate because harm was inflicted prior to
Plaintiff's arrest, from an invasion of privacy (Comp., “61). likewise. claims
for 0utrageous Government Conduct are fundamentally due process violations. See
United States va Schmidt, 105 F.3d 82, 91 (2d Cir. 1997)("the concept of
fairness embodied in the fifth amendment due process guarantee is violated by
government action that is fundamentally unfair or shocking to our traditional
Sense of justice"); and Jennis v. Roodr 310 Fed. Appx. 439, 441 (2d Cir. 2009)
("Outrageous government conduct is a substantive due process violation of the

fourteenth amendment").

With respect to Count V`(Euual Protection), this claim is obviously an
"equal protection" claim that is clearly alleged. However it is also a "substan-
tive due process" clainl because it also deals with "Plaintiff's vindictive
federal prosecution" (Comp., H64). lhe constitutional right to "due process [isj
violated by a vindictive prosecution." Class v= United States, 138 S, Ct. 748,

810 (2018)(internal citations omitted).
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(Q) Outrageous Government Conduct
As an initial matter, the Court must distinguish between a civil
"outrageous government conduct" clahn and one in the criminal context--which
seeks to dismiss an indictment upon such a claim. Defendants point primarily to
criminal cases which have a higher burden than civil cases (DANY Mot. at 22-23).
For an outrageous government conduct "claun to survive a
Rule 12(b)(6) dismissal motion, it must allege governmental
conduct that is so egregious, so outrageous, that it may
fairly be said to shock the contemporary conscience." Velez
v. Levy, 401 F.3d 75, 93 (Zd cir. 2005).
lf forcing an underage girl to engage in prostitution in order to fraudu-
lently arrest her alleged pimp does not 'ehock the conscience" than nothing
does! DANY interprets their conduct as simply "using one criminal to arrest
another criminal" (DANY Mot. 22-23). But to the media and general public they
exclaim that all prostitutes under 18 years old are victims (Ema. J-l & J-2):
"We need to amend our penal code so that Sex Trafficking can
be proved without evidence of force, fraud or coercion when

the victim is less than 18 years of age." (J-l, pg. 3);

'The penal code must be changed to recognize the fact that
children do not have the legal, psychological, or emotional

capacity to consent to sexual activity," (J-l, pg. 2);
"Federal laws recognize that underage teens can't consent to
sex, so DA Cyrus Vance Jr. handed the case off to then--US
Attorney Preet Bharara." (J-2, pg. 1);

The irony of this whole affair is that DANY supposedly champions to prevent
underage prostitution, but when it suits their own interests they promote it!
DANY and Judge Wittner's conduct was outrageous for the following reasons:

(1) Fraud is the core issue with Defendants' actions. lhey knowingly had
hanna nusrepresent herself as an adult, while also knowing she was in fact
sixteen or seventeen years old. lhis permitted them to: (a) use administrative
subpoenas under 18 U.S,C. § 3486(a)(1)(A)(i)(ll)(which is unavailable for adult

prostitution); and (b) charge Plaintiff with a felony, since promoting

prostitution of an adult is a misdemeanor under N.Y. Penal Law § 230,20;

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(2) lhey lied in court orders and the criminal complaint that Plaintiff was
causing Minna to engage in prostitution, when in fact it was Defendants coercing
her actions. The January 12, 2012 sting operation was completely bogus because
Janel and Minna were no longer working with Plaintiff at this time;

(3) Janel admitted she did not offer sexual acts to the undercover cop Det.
Giancarlo Cavallo (just like the other times they visited her); however used
their own informant to say the keywords 'Uoggystyle for $160" to initiate a
phony arrest (Comp.i HH16, 23);

(4) DANY pretends that their sting operation was random, yet ignore that
they have been investigating the Plaintiff since 2009 (Comp., U13, Exhibit K-3);

(5) During Plaintiff's federal trial, Det. Woods admits that the general
purpose of a sting operation is to "rescue any underage victims" yet cannot
explain why it was necessary to rescue Minna in January 2012, when she was
clearly 'rescued" at his office in December 2011. He also unknowingly admits
that the sting operation was unrelated to the Plaintiff (Tr. 34, 150-151); yet
it was still used as the sole basis for Plaintiff's arrest. See Dkt. #90-1
("Criminal Court Complaint");

(6) During the trial of Nathaniel Jackson, Minna admits to meeting with
DANY on numerous occassions beginning August 2011. Yet it remains an enigma how
she is engaging in prostitution during the same time?

(7) This is not DANY's first rodeo, it is already publicly known that they
previously forced Rebecca Kade to engage in prostitution in order to investigate
Anna Gristina a/k/a "Soccer Mom Madame" (Exhibit E, pg. 137-138):

"The assistant district attorney's office couldn't believe
the information l provided in my first wiretap. But my work
was far from over. lt was clear to them l was an invaluable
asset, and so they encouraged me to keep on working for Anna
as a call girl. lt was like the Wild West. They wanted me to

keep breaking the law so they could get more information."

"The ADA told me to work in order to garner information for
him, and then turn over to his office the money and any

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gifts that clients gave me. l actually did this. God knows
if somebody pocketed the money. lechnically, this ADA_was my
pimp. lt was like sex slavery at the behest of the Manhattan
District Attorney's Office. This cowboy still has a job in
law enforcement, in another state, at an even higher level.

(8) lt is also publicly known that DANY and NYPD Vice have previously
staged bogus prostitution sting operations. See Pinter v. City of New York, 710
F. Supp. 2d 408 (S.D.N.Y. 2010); and Crosby v. City of New York, 269 F.R.D. 267
(S.D.N.Y. 2010)(public outcry from the gay community that the NYPD was
entrapping men on prostitution charges);

(9) DANY intentionally used a 17 year old prostitute because New York law

classifies them as accomplices (N.Y. Penal Law § 230.35); but under federal laws

they are always seen as victims. See e.g., 18 U.S.C. §§ 1591, 2422, 2423, etc.
lhis seems to offer the unique opportunity to use them as informants, but
simultaneously forward cases for federal prosecution, as done in the instant

case and others (Exhibit J-4). See also, Elleby v. City of New York, 2016 U.S.

 

Dist. LEXIS 106727 (S.D.N.Y. 2016)(false arrest claim involving pimp with 17-
year~old prostitute, investigated by DANY and Det. Mark Woods);

(10) lt is further known that Minna and other underage prostitute-
informants were used to investigate other alleged pimps and madames by DANY. See
§brley v. Vanc§, 15 Civ. 1800 (KPF)(S.D.N.Y., Dkt. #1, Complaint);

<11> Between August 2011 and January 10; 2012, it appears that Minna was
reluctant to exercise her duties as an informant and. therefore DANY’ sought
assistance from Judge Wittner to compel her participation (Comp., HU18-19). lhis
is known from statements made by Phebe in substance that "Minna was working for
a Judge and Prosecutor" (Corley Decl., U22(f));

(12) Statements made by Minna during an ex parte proceeding in federal
court with the FBl and. U.S. Attorney, suggest that 'her participation as an

informant was not yoluntary. See United States v. Corley, 13 Crim. 48 (AJN)

 

(S.D.N.Y., Dkt. #38);
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(13) After investigating the Plaintiff for over two (2) years, DANY learned
that Plaintiff did not knowingly associate with underage prostitutes. lypically,
law enforcement use undercover officers pretending to be minors to investigate
such caseso However, this tactic was avoided because DANY believed Plaintiff
would explicitly reject such a proposition;

(14) lhe Backpage°com ad for Minna referenced by Det. Wbods in his criminal
complaint (Dkta #90-1) was fabricated by tampering with an ad previously posted
by the Plaintiff for a different individual. See e.g., Corley, supra (Dkt. #80,
Exh. M & Exh. N);

(15) Although Minna was introduced to the Plaintiff by Phebe, Minna did not
start working until after she was acting as a prostitute-informant for DANY. At
no point was Plaintiff seeking or initiating contact with Minna, but always her
contacting him or showing up uninvited at the direction of DANY. Without DANY's
participation the crimes charged would not exist, nor probable cause;

ln conclusion, several factors are present which federal courts have deemed
relevant to whether the government's conduct was outrageous, e.g.: (1)
Defendants knew that Plaintiff did not desire underage prostitutes, yet they
orchestrated the entire circumstance to ensure the arrest of their own underage
informant; (2) on numerous occasions they conducted sting operations in which
none of the women associated with the Plaintiff offered sex in exchange for
money; (3) the Government invented both of the charges Plaintiff was arrested
for; (4) the Government encouraged and promoted the prostitution of Minna the
entire time; (5) the Government controlled every aspect of what Minna did and
said, and fabricated evidence; and (6) the Government constantly pursued to
entrap Plaintiff with an underage prostitute, but Plaintiff's explicit avoidance
of minors did not naturally permit such an arrest without the Government's out-

rageous conduct. See e.g. §nited States v. Black, 733 F.3d 294, 303-304 (9th

 

Cir. 2013)(highlighting six factors relevant to outrageous government conduct).
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(R) Pre-Trial Publicity (Obstruction of Justice)

Plaintiff seeks no relief for ndenial of a fair trial due to pretrial
publicity" (DANY Mot. 23-24). lherefore this defense is completely frivolous.
Plaintiff's claims are founded upon Defendants' attempts to use the media as
intimidation "with the intent of compelling the Plaintiff to plead guilty," in
violation of his fifth and sixth amendment rights to due process and a fair
trial pursuant to 42 U,S.C; §§ 1983, 1985(2) and 1985(3)(Comp,, U63)» The goal
was to embarass the Plaintiff in the media hoping that he would quickly plead
guilty to get the matter over with, lhis would also further their objective of
concealing their iniquities and preventing Plaintiff from filing a future civil
rights suit in federal court, Which is why the Cbmplaint states "to influence
the disposition of the case, or any future criminal or civil federal case." Td.

Defendants argue that the Plaintiff is "delusional" and pleads "fantasy"
but l invite them to explain the following circumstances:

(1) ln 0ctober 2012 after Plaintiff declined a five-year probation guilty
plea to testify against Nathaniel Jackson, it appears that DANY abandoned all
efforts to bring Plaintiff's case to trial (Comp., 937);

(2) On October 11, 2012, DANY requested Judge Wittner's help with
convincing the U.S. Attorney to take over the case, lhe Judge then issued an
order to transfer case files to the U.S. Attorney (Comp., UU38-39). Somehow,
dudge Wittner has some clout with the federal government (likely from years as
an Attorney General), because this was not the first time she threatened a Def-
endant with federal prosecution. See Exhibit C ("Herbert L. Rogers Affidavit"):

"on more than one occasion Judge Bonnie Wittner repeatedly
threatened this affiant with. federal prosecution in due
event l should testify for Mr. Kimble"

(3) Apparently, the U.S. Attorney articulated to the Defendants that it had
no interest in Plaintiff's case given the lack of media coverage; because within
twelve (12) days, Mr. Hardy filed an application to hire Mr. Barry's firm Ports

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& Files, lnc. See Exhibit G, pg. 4 ("Affirmation of Glenn F. Hardy, Esq., dated
October 23, 2012);

(4) The hire of Mr. Barry was most unusual because Plaintiff already had a
Private lnvestigator named Douglas Hilfman of Regent lnvestigations, lnc.
Plaintiff had already spoken with Mr. Hilfman whom was actively pursuing leads.
Why was it necessary to hire Mr. Barry? Unless of course he had some "special"
service that other investigators could not provide (i.e., media publicity);

(5) Mr. Hardy admits that "Mr. Barry and [him] had worked together in the
past as well and [hej was familiar with his work." See Exhibit F ("Hardy letter
to Nassau Cbunty Bar Association)(emphasis added). "His work" in question was
media putlicity and advertising. Mr. Barry admitted working on many highly pub-
licized cases (Comp., H“42~45; 50). See Exhibit HFl (Daily News Article of case
Mr. Barry admitted he was involved with).

(6) Mr. Hardy appeared in the news discussing Plaintiff's case and also did
the same to his client Anthony Rodriguez (Comp., HH50-52). See Exhibit H-2
(PlX-ll Report on Anthony Rodriguez). lt is no coincidence that reporter Mario
Diaz mentions that "Hardy also is the defense attorney for Royce Corley"--which
Hardy likely suggested to keep Plaintiff's case relevant. ld.;

(7) Mr. Barry's "Activity log" for the work he allegedly did on this case
speaks volumes to his true agenda. He billed for a total of 18.5 hours working
on the case, with his work ceasing immediately after Plaintiff's case was pub-
licized. See Exhibit G, pg. 2 ("Activity Log"). ln full perspective the
statutory maximum permitted to be billed is $1,000, yet for the ephemeral work
done he billed $925--or 1% hours shy of the maximum (ld., pg. 1);

(8) Plaintiff has similar records forl Mr. Hardy, whonllnanaged. to 'bill
almost $10,000--without even going to trial. The bills of Mr. Hardy and Mr.
Barry were both approved by Judge Wittner--despite zero justification for such

excessive billing, given the minuscule work each Defendant done;
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(S) Equal Protection
0nce again Defendants view 'the Complaint through selective-goggles by
arguing "Plaintiff has not made any factual allegations demonstrating that he
was referred for federal prosecution because he is black" (DANY Moth at 26); yet

the Complaint clearly states (Comp., H64):

"DANY maintained a policy of referring Black defendants for
federal prosecution, while defendants of other races faced
less severe consequences, and did exercize such policy
against the Plaintiff."
Likewise, Defendants continuously cite criminal case law to support their
arguments, while it is only civil law that governs this matter (DANY Mot 24-26).

Criminal cases have a significantly higher burden because Criminal defendants
are seeking to dismiss the indictments against them, whereas_civil plaintiffs
are only seeking damages.

At the pleading stage, Plaintiff is only required to state a '%hort and
plain statement." Fed. R. Civ. P. 8(a)(2). lherefore it is unnecessary for him
to annex exhibits, charts and statistical reports to the Complaint‘ However, in
the abundance of caution, Plaintiff offers just some of the statistical data
that proves DANY 'heintainei a racist policy of referring Black 'pimps' for
federal prosecution ... or charing more serious charges ... while defendants of
other races, under similar circumstances, face less serious crimes" (Comp. H54).
See Exhibit D-l ("Demographics of Prostitution Arrests"): and Exhibit D-2
("Demographics of Prostitution Convictions"). The following is a brief analysis
of this data:

(1) The arrests for all prostitution-related offenses (N.Y.
Penal Law, Art. 230) demonstrate that in New York County all
races (White, Black, Hispanic and Other) and both genders
have consistently engaged in prostitution-activity (in some-
what balanced proportions) from 1990 to 2015 (Last lable in
Exhibit D-1);

(2) ln the Era of DA Morgenthau (2009 and prior) there has
been an even distribution of arrests for "regular" prosti-
tution (PL 230.00\ between the races from 1990 to 2009

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(although it appears that enforcement against Whites had stea-
dily decreased and increased against other races beginning in
or around 1998 and 2002);

(3) Tn the Era of DA Vance (2010 to the present) arrests for
"regular" prostitution (P[ 230. 00) had plummeted against all
other races, except Blacks which had remained constant (this
trend appears to have started in 2002 with Morgenthau);

(4) ln the Morgenthau Era, arrests for "Patronizing a Prosti-
tute (PL 230. 03) has shown Whites primarily committing this
crime, however trends show a decreased enforcement against
Whites and an increase against other races beginning in 2002;

(5) ln the Vance Era, arrests for "Patronizing a Prostitute"
(PL 230.04) show an overall lack of enforcement, but a sig~
nificant decrease against Whites and increase for others;

(6) The arrests for "Promoting Prostitution in the Third and
Fourth Degree" (PL 230.20 & 230.25) show an overall lack of
enforcement, however it appears that only Blacks are being
charged with the more serious offense of "Promoting Prosti-
tution in the Second Degree" (PL 230.30);

(7) The Sex lraffick1ng statute enacted in 2009 (PI 230. 34)
is virtually enforced exclusively against Blacks, with the

Blacks representing almost 70/ of all arrests between 2009

and 2015 (and only one (1) White was arrested this pa riod);
(8) Almost exclusively Blacks are convicted of "regular"
Prostitution (PL 230.00); with this discrimination being
more pronounced in the Vance Era despite an overall de-

crease in convictions. The same trend against Blacks is

evident for "Patronizing a Prostitute" (PL 230.03 and

PL 230.04) and all prostitution-related convictions as a
whole (Last Table in Exhibit D~Z)(this demonstrates that
DANY is reluctant to dismiss charges against Blacks, but
Other races get a break);

(9) The Twenty- Eight (28) out of Forty- One (41) total Sex
Trafficking (PL 230 34) arrests for Blacks proven to be a
farce because only Six (6)(less than 257) were actually con-
victed for Sex lrafficking between 2009 and 2015;

(10) Whenever there is a significant increase in the enforce-
ment of the prostitution laws, it appears that all of the
Whites come out of the woodwork and dominate the number of
arrests (Exhibit D-1): PL 230.00 (1990 & 2014)? PL 230.03
(1994), PL 230.04 (2008 & 2012), PL 230.20 (1993), and

PL 230.40 (1993)- lhis demonstrates that more Whites are
truly committing the same crimes as other races, but are

only arrested when quotas are needed, while others races are
constantly being targeted every year with impunity;

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This data is only a Snapshot of the evidence that DANY is deliberately tar-
geting Blacks for more severe punishment. lhe prejudice of DANY is also evident
in other--albeit subtle circumstances, e.g.:

(1) ln almost all cases involving sex crimes7 an underage female is
considered the victim, while the adult male is the perpetrator. However, this
norm does not apply for DANY when the female is Black and the male is White. See

Exhibit l (Shaina Foster was sixteen when she met on 80-year-old named Paul
Aronson over the internet for sex, yet when he complained about losing $500--in

an obvious prostitution transaction-~she was charged with robbery and denied
youthful offender status~-a severe penalty for a minor), lhis shows that race is

a significant factor in DANY's decision-making;

(2) Cyrus Vance drj refers to a Black Pimp as "thickheaded," which is a
racist epithet to imply Blacks are brutes with low-intelligence (Exhibit J~B);

(3) Although Plaintiff was not charged with the New York State Sex lraffic-
king statute, Cyrus Vance Jr. succesfully campaigned by highlighting Plaintiff's
case to change the statute so that he could. prosecute more Blacks without
forwarding their cases to the federal government (Exhibit J~l and Ekhibit 3-2);

(4) Following Plaintiff's federal trial, it became obvious that race was a
motivating factor for DANY when the U.S. sttorney: (a) eliminated all of the
Blacks from the jury, and (b) emphasized that Plaintiff was a "Black Pimp" from
Harlen that desired "White Girls" (Voir hire 120-123; lr, 215, 480, 433, 488;
and Gov, Ex, 5);

"ln order to state an equal-protection claim based on racial
discrimination, plaintiffs must allege that a government ac-
tor intentionally discriminated against them on the basis of
race;" Vidal v2 Nielsenz 291 F. Suppt 3d 260, 274 (E"D.N.Y.

2018)(citing Havden v. County of Nassau, 180 F.3d 42, 48 (Zd
cir. 1999).

lhe details elaborated above demonstrates that DANY deliberately discrimi-

nates against Blacks for which "[t]he Equal Protection Clause of Fourteenth

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t Amendment to the U.S. Constitution generally prohibits government officials from
discriminating on the basis of race‘" lda Furthermore, it is clearly established
that race was a motivating factor even if it was not the sole factorz for which
"plaintiff need not show that the decision maker was motivating soleyz
primarily, or even predominately by concerns that were racial ¢.. rather, the
plaintiff need begin only by showing that race was a motivating factor." United

States v. Yonkers Bd. of qucation, 837 F.2d 1181, 1216-17 (Zd Cir. 1987).

 

"An Equal Protection Clause argument would be available for

a black who could demonstrate that members of his race were

being singled out for nmre severe punishment than others

charged with the same offense." McClesky v. Kemp, 481 U.S.

279., 331 (1987), ""“*'°””°'

"This Court has repeatedly stated that prosecutorial discre-

tion cannot be exercized on the basis of race." ld at.309

n.30.

(T) Negligent lnfliction of Emotional Distress

Defendants argue that Plaintiff cannot recover damages for a "purportedly

negligent criminal investigation or prosecution" (DANY Mott at 26). However this
argument is non sequitur because: (a) this is not a general negligence claim but
one for "emotional distress," (b) the allegations go beyond just an
"investigation or prosecution" and (c) although "a l§wful arrest cannot support
a claim for intentional or negligent infliction of emotional distress," Q§pka v.
County of Suffolkz 85 F. Supp, 2d 1171y 123 (E.D.N.Y. 2008)(emphasis added); the
converse is not true for an "unlawful arrest" as alleged. in_ the. Complaint

<Comp.? U66). Moreover) emotional distress claims were held valid against law

enforcement for false arrest. See Stampf y. Long leland R,R., 761 F.3d 192, 207

 

(Zd Cir1 2014)(award of damages for emotional distress from false arrest).
(U) Statute of Limitations
Defendants' argument to bar all of the claims against them on a statute of
limitations defense is contradicted by their arguments that "Heck" applies to

all of these same claims. lf Heck applies (as they suggested) than none of the
ClaimS accrued until the state charges were dismissed on February 1, 2013
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(COmp., U33). The Complaint was filed before Fehruary 1, 2016 (within the three-
year limitations period for § 1983 and NIFD claims). Furthermore, Genera] Muni-
cinal law § SO~i does not apply because no state law claims were filed against
the City of New York§ but only against DANY "in their individual capacity acting

added). Accrual occurs when the plaintiff has "a complete and present cause of
action, that is, when the plaintiff can file suit and obtain relief." Wallace v.
§§tg) 549 U.S. 384, 388 (2007). See also, Heck v. Humphre , 512 U.S. A77, 489-90
(1994)("cause of action for damages ... does not accrue until the conviction or
sentence has been invalidated").
IV. City of New York (hereinafter "NYC")
(V) Heck Defense
This matter is addressed. below in Plaintiff's cross-motion for Partial
Judgment on the Pleadings.
(W) Qualified lmmunity
Defendant NYC asserts that "the NYPD Defendants are entitled to qualified
immunity" (NYC Mot. at 9), however there are no NYPD Defendants in this casea
Therefore this defense is misplaced.
(X) Monell Defense
Defendant NYC challenges Count V (Eiual Protection) regarding the City's
"policy of racial prejudice with respect to its employee's involvement in
criminal prosecutions" by arguing that "Plaintiff simply makes conclusory
allegations that are too vague and outlandish to allege, let alone support, a
specific theory of Monell liability" (NYC Mot, at 16).
The allegations in the Complaint clearly establish that DANY and NYC (Comp,
UU54-58, 64): (1) acted under color of law, (2) violated the equal protection
clause by discriminating against Blacks, (3) Plaintiff was discriminated against

directly, (A) suffered damages, and (5) DANY's racist policy "caused the consti-
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tutional injury." Roe v. City of Vbterbury, 542 F.3d 31, 36 (Zd Cir. 2008).

 

bhreover, Plaintiff satisfies Monell's "policy or custom" requirement by alle-
ging that the policy~maker DA Vance directly participated and encouraged the
violation of Plaintiff‘s equal protection rights and the statistical data
provided in Exhibits D-l and D~Z establish that the SeleCtiVe enforcement Of Sex
Trafficking was "so consistent and widespread that, although_ not expressly
authorized, constitutes a custom or usage of which a supervision policy-maker

must have been aware." Brandon v. City of New York, 705 F. Supp. 2d 261, 276-77

 

(S.D.N.Y. 2010)(internal citations omitted).
(Y) Notice of Claim Defense

Plaintiff asserts no state law claims against NYC therefore their notice of

claim defense is without merit and moot.
MI.QN_S.
2. Motion to Enter Default:

Plaintiff files this cross-motion to renew an entry of default against
Defendants HONORABLE BONNlE G. WlTTNER, J.S.C., MlCHAEL J. BARRY, PORTS & FlLES,
lNC., and the ClTY OF NEW YORK (hereinafter "Defaulted-Defendants") -and- to
strike their motions to dismiss pursuant to Fed, R. Civ. P. 12(b)(6) which chal-
lenges their liability, because "[ijt is an ancient common law axiom that a
defendant who defaults thereby admits all well~pleaded factual allegations
contained in the complaint." City of New Ybrk v. Mickalis Pawn Shop, LLC., 645
F.Bd. 114, 137 (2d Cir. 2011)(internal. citations omitted). The Court's Order
(dated` May 17, 2018) denying an entry of defaultv was in error and lnust be
reversed for the following reasons:

(A) lionn Bonnie G. Wittner was served on June 29, 2016; Michael J. Barry
and Ports & Files, lnc. was served on June 23, 2016; and the City of New York

was served on June 30, 2016; with the summons and complaint;

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(B) Proof of service on file with the Court from the U.S, Marshal Service,
establish that service was proper pursuant to Fed. R. Civ. P. 4(c)(3)("[vial
United States marshal"). See Dkt. # 25-28 ("Marshal's Process Receipt and Return
of Service Executed");

(C) By order (entered Jun. 21, 2016), Judge John G, Koeltl extended the
time for defendants to move or answer "until 30 days after all the defendants
have been served" (Dkt. #16);

(D) GLENN F. HARDY, P.C. was the last defendant to be served on July 15,
2016 by the U.S. Marshal. Therefore the deadline to move or answer was before
August 15, 2016 (Dkt. #46);

(E) Defaulted-Defendants failed to "move or answer" before August 15, 2016.
Judge Wittner filed a late defense on August 29, 2016 (Dkt. #54); Michael J.
Barry and Ports & Files, Inc. filed a very late defense on September 22, 2016
(Dkt. #63); and the City of New York filed a late motion to stay on August 23,
2016 (Dkt. #51);

(F) Defaulted-Defendants' failure to move or answer before the Court's
deadline constitutes deliberate "disregard for a court order [and] is a failure,

under Rule 55(a), to otherwise defend." Eagle Associates v. Bank of Montreal,

 

926 F.2d 1305, 1310 (2d Cir. 1991)(internal quotations omitted);

(G) Judge VHttner and the City of New York knowingly defaulted to avoid
exposing controversial facts during discovery; and Michael J. Barry and Ports &
Files, lnc. deliberately defaulted because they believed "[tlhis is a completely
frivolous and meritless lawsuit" (Dkt. #63);

(H) Defaulted-Defendants failed to satisfy the "good cause shown" standard
of Rule 55(c) in their fruitless explanations against default (Dkt. #57-58, 63).

See Guggenheim Capital, LLC v. Birnbaum, 722 F.3d 444, 454 (2d Cir. 2013);

 

Moreover, "the clerk must enter the party‘s default" for failure "to plead
or otherwise defend," Fed. R. Civu Po 55(a)(emphasis added). "The entry of
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default is therefore not discretionary." Bricklayers & Allied Craftworkers Local

2 v. Moulton Masonry & Constr., LLC., 779 F.3d 182, 186 (2d Cir. 2015).

 

lherefore the Court mg§t direct the clerk to enter default, and may Qply use
discretion with respect to Defaulted-Defendants establishing "good cause"
pursuant to Fed. R. Civ. P. 55(c)("The Court may set aside an entry of default
for good cause").

3. Partial Judgment on the Pleadings:

Plaintiff ROYCE CORLEY is entitled to partial judgment on the pleadings
pursuant to Fed. R. Civ. P. 12(0) with respect to the underlying state charges
in this case that were terminated in Plaintiff's favor (Comp., U33)~~defeating
Barry Mot. at 17-18; Hardy Mot. at 11-13; DANY Mot. at 16-20; and NYC Mot.
at 6-11); for the following reasons:

Aa State Charges Dismissed in Plaintiff's Favor

Ihe state charges for which damages are based, were dismissed against the
Plaintiff for two (2) counts of "Promoting Prostitution in the lhird Degree"
under N.Y. Penal law §§ 230.25(1) & 230.25(2). See Exhibit A ("Certificate of
Disposition Dismissal"). "[Tjhe entry of a nolle prosequi is sufficient to

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constitute a favorable termination. Spak v. Phillips, 857 F.3d 458, 464 (2d
Cir, 2017). Moreover, "New York law does not require a malicious prosecution
plaintiff to prove her innocence, or even that the termination of the criminal
proceeding was indicative of innocence." Rothstein v. Carriere, 373 F.3d 275,
286 (2d Cir. 2004).

B. State Charges are Distinguished from the Federal Charges

While the nolle prosequi should resolve this matter, Defendants insist that
Plaintiff's conviction for Sex Irafficking in federal court should bar all of

Plaintiff's federal claims, along with his state NIED and legal malpractice

claims by citing Ihompson v. Delvalle, 2010 U.S. Dist. LEXIS 61451 (S.D.N.Y.
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2010)<"Heck doctrine [appliesj because the Federal and State actions are

inextricably intertwined. and. substantially related to one another"), citing

Feurtado v. Gillespie, 2005 U.S. Dist. LEXIS 30310 (E.D.N.Y. 2005)(Heck doctrine

 

applies to false arrest claim upon dismissed indictment where conviction on
subsequent indictment charged the same crime-). Ihese two cases are premised
upon one key element: the dismissed charge and convicted charge are the same.

However, State "Promotin Prostitution" is substantiall different from Federal
8 Y

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"Sex Trafficking,' using the "Blockburger lest" highlights this distinction:
"The applicable rule is that where the same act or
transaction constitutes a violation of two distinct
statutory provisions, the test to be applied to determine
whether there are two offenses or only one, is whether each
provision requires proof of an additional fact which the
other does not." Blockburger v. United States, 284 U.S. 299,
304 (1932).

 

Tne only connection between the state and federal charges are those
individual counts involving Elaine a/k/a "Minna" as follows:

"SECOND COUNT: AND THE GRAND JURY AFORESAID, by the indict-
ment, further accuses the defendant of the crime of
PROMOTING PROSTITUTION lN THE THlRD DEGREE, in violation of
Penal law § 230.25(2)7 committed as follows: the defendant,
in the County of New York, on or about January 12, 2012,
knowingly advanced and profited from prostitution of a
person who was less than nineteen years old" (Dkt. #90-2,
People v. Corley, ind. #423-2012);

"COUNT` ONE (Sex Trafficking of a Minor) The Grand. Jury
charges: 1. From at least in or about August 2011, up to and
including in or about January 2012, in the Southern District
of New York and elsewhere, ROYCE CORLEY a/k/a "Ron lron,"
the defendant, willfully and knowingly, in and affecting
interstate commerce ... recruited, enticed, transported,
provided, and maintained a person who was less than 18 years
old ("Minor Victim-l"), and who was caused to engage in at
least one commercial sex act that benefitted CORLEY
financially" (Dkt. #90-4, U.S. v. Corley, 81 13 Crim. 48);

As an initial matter the state charges have no interstate commerce element,
lhe federal charges have no element for advancing or profiting elements. lhe
state charges have no recruit, entice, transport, provide or maintain elements;

and no federal crime for 18 year old victims, while this crime exists for state,
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Vbreover, state law "encompass acts such as lap dancing in which the dancer's
naked body is touched°" Prus v. Holder, 660 F.3d 144, 148 (2d Cir. 2011); but
"lap dancing" does not constitute a 'bommercial sex act." See 18 U¢S.C. §§
1591(e)(3) and 2246(2)(definition of "sexual act"). Therefore under the Block-
burger test, Plaintiff's federal charge is different from the state charge.
No case law' exists to apply Heck bar to a conviction of a crime that is
different from the crime a malicious prosecution is based.

Even assuming arguendo, if the state charge was identical to the federal
charge, there are significant factual differences that "does not necessarily
imply the invalidity of lPlaintiff'sj outstanding conviction." Poventud v. City
of New York, 750 Eh3d 121, 127 (2d Cir. 2014): e.g., the state charges are
limited to the one (1) sting operation "on or about January 12, 2012" (Dkt.
#90-2); while the federal charges extend from "at least in or about August 2012,
up to and including in or about January 2012" (Dkt. #90-4). Under these
circumstances Plaintiff could successfully win at a state trial based upon a one
day event, but be convicted in a federal trial based upon six (6) months of
conduct minus one (1) day!

Co Heck Does Not Apply to Malicious Prosecution,

Speedy lrial or Legal Malpractice where the
State Proceeding is Final

The application of Heck to any claim premised upon malicious prosecution,
speedy trial or legal malpractice (Counts I-Vll) is ludicrous, because the scope
of such claims are clearly limited to the terminated prosecution, e.g.: How does
a malicious prosecution on state charges by state prosecutors affect a federal
case and federal prosecutors? How does a violation of state speedy trial law
affect a new and subsequent federal prosecution? How does a state lawyer's mal-
practice in state court on state charges affect a federal lawyer's conduct in
federal court on federal charges? How does the racist policy of state prose-

cutors imply that the federal prosecutors are also racist? Likewise, "under the

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common law any final termination of a criminal 'proceeding in favor of the
accused, such that the proceeding cannot be brought again, qualifies as a favor~
able termination for purposes of a malicious 'prosecution action." Poventud,
Supra at 131. Under state double jeopardy and limitations laws, the state
charges "cannot be brought again." See N.Y. Crim. Proc. Law §§ 30.10(b),
40.20(1) and 40.30(b).

D. Heck Does Not Apply to Claims lndependent of
the Termination of the Criminal Proceedings

All of the Counts alleged have absolutely no bearing on the Plaintiff's
federal. conviction (with rninor exception for Count ll), i.e., judgment for:
invasion of privacy, speedy trial violations, obstruction of justice for media
publicity, NlED for state incarceration7 equal protection for `bias against
Blacks, and legal malpractice in state case can "exist independent of the
termination of the criminal proceedings." Poventud, supra at 132 ("[ejven Heck

acknowledges Lthisj").

E. Pending Federal Habeas Corpus and Future Release
Further Defeats Heck Defense

Plaintiff currently has a pending: (a) thion for a New Trial pursuant to
Fed, R. Civ, P. 33(b)(1), and (b) Motion to Vacate pursuant to 28 U,S.C. § 2255;
both of which could reverse the federal conviction. Therefore any application of
Heck would. be premature at best. Furthermore, Plaintiff's January 29, 2013
release from state custody and future 0ctober 11, 2020 release from federal

custody (see http://www.bop.gov/inmatelocator/) defeats Heck 'because "Heck's

 

favorable termination requirement does not bar plaintiffs who are not in

custody-~and thus have no remedy through habeas relief from seeking relief pur-
suant to section 1983." Hardy v. Fischer, 701 F. Supp. 2d 614, 620 n.6 (S.D.N.Y.
2010)(emphasis added).

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F, Heck Defeated by "Split Verdict"

Plaintiff was never convicted of any offense that involved langina Bennett
a/k/a 'Uanel" who's participation was required for "two or more prostitutes"
element of "Promoting Prostitution" pursuant to N.Y. Penal Law § 230.25(1), i.e.
Count One of the State Indictment (Dkt. #90-2). Such a "split verdict" defeats

seas see Dunham v. city er New Yori<, 295 F. supp. 3d 319, 333 (s.D.N.Y. 2013)

 

("a malicious prosecution claim may lie where a split verdict was rendered in
plaintiff's underlying criminal proceeding"), citing Janetka v. Dabe, 892 F.2d
187, 190 (Zd Cir. 1989)(concluding that Janetka's disorderly conduct conviction
did not bar his malicious prosecution claim with respect to his resisting arrest
acquittal).

G. Applying Heck Causes Prejudice

Figuratively, Defendants arguing that since a stronger and far more
powerful opponent than themselves ("feds") beat the Plaintiff at a far more
complicated. game of Chess, that they should be crowned "Checker Champions"
despite the fact they willfully forfeited a trial to prove the strength of their
case. Such circumstances cannot be permitted for any ruling to be consistent
with justice. lf for any reason Plaintiff is unable to reverse his federal
conviction, he would be denied due process for constitutional violations commit-
ted by the state. lhis contradicts the maxim that: "some federal remedy--either
habeas corpus or 1983--@§§§ be available." Jenkins v. Haubert, 179 F.3d 19, 27
(2d Cir. 1999)(emphasis added).
4. Allow Time to Take Discovery;

None of Defendants motions to dismiss should be construed as motions for
summary judgment because the Court should allow time to take discovery pursuant
to Fed. R. Civ. P, 56(d). Ihe Declaration of Royce Corley, HH21-25, justifies

the need for "additional discovery in order to defeat the motion." Lunts, suprao

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5o Leave to Amend:

Plaintiff further moves to amend the Complaint to: (a) cure any
deficiencies (if necessary) because "a pro se litigant in particular should be
afforded every reasonable opportunity to demonstrate that he has a valid claim,"
Matima v. Q§lli, 228 F.3d 68, 81 (2d Cir. 2000)(internal quotations and citation
omitted); and (b) to identify all of the John Doe ADAs that participated in the

investigation prior to January 25, 2012, pursuant to Valentin v. "Dinkins, 121

 

F.3d 72, 76 (2d Cir, 1997)(requiring municipal defendant to assist pro se
prisoner plaintiff to identify fully all defendants).
mwm

WHEREFORE, Plaintiff ROYCE CORLEY, acting pro se, prays for an order:
(1) denying the motions to dismiss; (2) entering the default of the Defaulted-
Defendants; (3) partial judgment on the pleadings regarding Plaintiff's
'Tavorable termination;" (4) allow time to take discovery; (5) leave to amend;
and such other relief deemed just and proper under the circumstances.

Dated; November 18, 2018
Petersburg, VA

 

 

jj l, A_ l N T l F F

Royce Corley, pro se

Reg. No. 68011-054

Federal Correctional Insti ut'on - low
P.O. Box 1000

Petersburg, VA 23804-1000
68011054@imail.klolk.com

 

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